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14
                         UNITED STATES DISTRICT COURT
15
16        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

17 ALCON ENTERTAINMENT, LLC,               CASE NO. 2:19-cv-00245 CJC (AFMx)
18 a Delaware limited company,
                                           Hon. Cormac J. Carney
19               Plaintiff,
20         v.                              MEMORANDUM OF POINTS AND
                                           AUTHORITIES IN SUPPORT OF
21 AUTOMOBILES PEUGEOT SA, a               PUBLICIS MEDIA FRANCE, S.A.’S
22 France societe anonyme; et al.          FED. R. CIV. P. 12(B)(2) MOTION TO
                                           DISMISS FOR LACK OF PERSONAL
23               Defendants.               JURISDICTION
24
                                           Hearing:        August 26, 2019
25                                         Time:           1:30 p.m.
26                                         Courtroom:      7C

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 1                                      I.     INTRODUCTION
 2            This lawsuit arises from a product placement and co-promotional campaign by the
 3 French automotive brand Automobiles Peugeot SA (“Peugeot”) for the film Blade Runner
 4 2049 (“BR2049”). The film was co-produced by Plaintiff Alcon Entertainment, LLC
 5 (“Alcon”), which initially brought this action on January 11, 2019, against Peugeot and
 6 Isabel Salas Mendez, an employee of Peugeot, alleging, inter alia, breach of contract and
 7 fraud because Peugeot did not make payment for placing a futuristic Peugeot flying concept
 8 car—the “Spinner”—in the film as the vehicle assigned to the film’s star, Ryan Gosling.
 9 Alcon alleged that Peugeot also refused to run a co-promotional campaign outside North
10 America to promote the Spinner as well as the film.
11            On February 28, 2019, Alcon amended its complaint to add the corporate successor
12 to Peugeot’s French agent for the project, the Casablanca Agency (“Casablanca”), since
13 merged into moving party Publicis Media France, S.A. (“Publicis Media France”). 1 Am.
14 Compl., Dkt. No. 8, ¶ 49. The Amended Complaint alleges that Casablanca operated as an
15 agent for Peugeot in negotiating the placement and co-promotion. Id., ¶¶ 142-46. The actual
16 vehicle placed in the film was designed by Yang Cai, a Peugeot contract designer, Id., ¶¶
17 162, 173, and Peugeot retained another agency altogether, BETC, for the co-promotion.
18 Id., ¶ 199.
19            Publicis Media France is organized and operates under French law with its principal
20 place of business in Paris, France. Id., ¶ 48. Alcon nevertheless attempts to exercise both
21 general and specific jurisdiction over Publicis Media France. For the reasons outlined
22 below, Alcon’s effort to assert jurisdiction over Publicis Media France fails because it is
23 not subject to personal jurisdiction in California.
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27   1
         Following the parties’ meet-and-confer regarding this motion, Alcon has dismissed Publicis
28 Groupe, S.A., Hervé Montron and Mamou Sissoko pursuant to Rule 41. Dkt. No. 53.
                                           1
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 1                               II.   FACTUAL ALLEGATIONS
 2         A.     The Parties.
 3         Alcon is a limited liability company organized under the laws of the State of
 4 Delaware with its principal place of business in Los Angeles California. Am. Compl., ¶ 33.
 5 Alcon alleges that it is a co-producer and distributor of BR2049, and the assignee of all
 6 claims and potential claims relating Peugeot’s product placement and co-promotion of that
 7 film. Id., ¶ 34-35.
 8         Publicis Media France is a French societé anonyme (the U.S. equivalent of a
 9 corporation) engaged in advertising and public relations, with its principal place of business
10 in Paris, France. Id., ¶ 48. Publicis Media France is the successor-in-interest to Casablanca.
11 Id., ¶ 49. At the times relevant to this lawsuit, as described in the accompanying Declaration
12 of Gautier Picquet, CEO of Publicis Media France, Casablanca engaged in marketing
13 activities in France, providing services for French clients, until its dissolution. Picquet
14 Decl., ¶ 17. Prior to its dissolution, Casablanca did not operate in or provide services to
15 clients in the United States or, specifically, California. Id., ¶¶ 11-13, 17, 19.
16         Publicis Media France is a subsidiary of MMS France Holdings, which itself is a
17 subsidiary of the ultimate parent holding company Publicis Groupe, S.A. Publicis Groupe,
18 S.A., as described in the Amended Complaint, is also a French societé anonyme with its
19 principal place of business in Paris, France. Am. Compl., ¶ 48. Publicis Groupe itself is
20 headquartered at 133, Avenue des Champs-Elysées in Paris. It is licensed under Paris Trade
21 Register No. 542 080 601. Picquet Decl., ¶ 14. It is traded on the Euronext Paris exchange
22 under number FR0000130577, CAC 40. Id.
23         The Publicis agencies held by the Groupe are divided into four solutions hubs:
24 Publicis Media, Publicis Communications, Publicis Sapient and Publicis Healthcare. Id., ¶
25 15. The hubs, in turn, are comprised of agencies owned in geographically distinct holding
26 companies which operate in over 100 countries. Id. A simplified organizational chart of
27 Publicis Groupe and its holdings appears below as described in M. Picquet’s Declaration
28 at ¶ 16.
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12        As the chart reveals, Publicis Groupe’s French subsidiaries are held through a French
13 subsidiary of the Groupe, MMS France Holdings, S.A. The Groupe’s U.S. holdings are
14 held indirectly through an entirely different line of companies owned by Publicis Groupe
15 Investments BV, which is organized in The Netherlands. Publicis Groupe Investments BV,
16 in turn, owns MMS USA Holdings, Inc., which is organized under the laws of the State of
17 New York and has its principal place of business in New York. MMS USA Holdings in
18 turn owns the Publicis U.S. subsidiary agencies. The chart correctly shows that the US
19 operating entities of Publicis Groupe are wholly distinct from MMS France Holdings, the
20 immediate parent of Publicis Media France.
21        Publicis Groupe itself does not do business in the United States, id., ¶¶ 5-7, 15, and
22 has been found to be beyond the jurisdiction of American courts. T-4 Corp. v. McDonald's
23 Corp., No. CV 17-08-M-DLC, 2017 WL 3037422 (D. Mont. July 17, 2017), appeal
24 dismissed, No. 17-35652, 2017 WL 5565259 (9th Cir. Nov. 7, 2017) (dismissing Publicis
25 Groupe as a defendant for lack of personal jurisdiction after finding that an “alter-ego” or
26 “parent company” theory was without merit). Similarly, Publicis Media France does not
27 have operations in the United States. Picquet Decl., ¶¶ 8-10, 19.
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 1          Messrs. Montron and Sissoko are French citizens and residents who were employed
 2 by Casablanca until late 2017. Am. Compl., ¶¶ 52-53. Consistent with the work of
 3 Casablanca, during the course of their employment with Casablanca, Messrs. Montron and
 4 Sissoko worked for clients within France on product placements, promotions and
 5 endorsements, as described in the accompanying Declaration of Mamou Sissoko, Director
 6 of Product Placements for Casablanca. Sissoko Decl., ¶ 5. The only time that either of the
 7 individual defendants traveled to California for business during their careers with
 8 Casablanca was in January of 2017, when they were invited by Alcon to attend meetings
 9 in Los Angeles, California. Am. Compl., ¶ 200. Sissoko Decl., ¶ 23.
10          B.    Alcon’s Bases for Asserting Personal Jurisdiction.
11          The Amended Complaint alleges both specific and general personal jurisdiction in
12 California over Publicis Media France, including through the actions of Messrs. Sissoko
13 and Montron. Am. Compl., ¶¶ 19-25.
14          The Amended Complaint incorrectly treats Publicis Groupe and Publicis Media
15 France, two separate legal entities with two sets of unique relationships to the underlying
16 factual allegations, as if they were one and the same. See e.g., Am. Compl., ¶ 8 (“Publicis
17 Groupe and Publicis Media [France] are sometimes referred to herein as ‘Publicis.’”)
18 Without differentiation, the Amended Complaint alleges that “Publicis has continuous and
19 systematic contacts with the State of California” such that California may assert general
20 jurisdiction over “Publicis.” The Amended Complaint’s factual basis for the assertion of
21 unlimited jurisdiction over “Publicis” in California is limited to a single paragraph:
22                “Publicis’s” California continuous and systematic California business
23                included transactions with or involving Hollywood film and television
24                producers and distributors for product placements, media spends and
25                advertising involving motion picture and television products and other
26                entertainment products.
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     Id., ¶ 19.
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 1         Alternatively, the Amended Complaint attempts to assert specific jurisdiction over
 2 Publicis Media France based on its “purposeful availment” of the rights and privileges of
 3 doing business in California based on: (1) “‘Publicis’ directing false statements and other
 4 tortious conduct toward Plaintiff . . . whom ‘Publicis’ knew to be citizens and residents”
 5 of California; (2) “Publicis” signing a confidentiality contract that included a California
 6 choice of law provision; and (3) “Publicis” acting as an agent for Peugeot in negotiations
 7 between Peugeot and Alcon relating to BR2049 when “[s]ubstantial portions of pre-
 8 production, production, editing, marketing, and advertising . . . would be and were done in
 9 California.” Id., ¶¶ 20-21.
10         The Amended Complaint alleges specific jurisdiction over Publicis Media France
11 through the actions of Messrs. Sissoko and Montron on nearly identical grounds.
12 According to the Amended Complaint: (1) Mr. Sissoko and Mr. Montron “directed []
13 activities” toward Plaintiff; (2) Mr. Sissoko and Mr. Montron “intentionally made and
14 directed tortiously false statements and conduct toward Plaintiff”; (3) Mr. Sissoko and Mr.
15 Montron participated in negotiating and signing contracts as an agent for Peugeot, which
16 included a confidentiality agreement with a California choice of law provision; and (4) Mr.
17 Sissoko and Mr. Montron personally sent, and directed others to send “multiple emails to
18 Plaintiff.” Id., ¶¶ 22-25. Additionally, the Amended Complaint alleges that, at Alcon’s
19 invitation, Mr. Sissoko “attended meetings” at Alcon’s California offices relating to
20 BR2049. Id., ¶ 25.
21                                 III.   LEGAL STANDARD
22         The exercise of personal jurisdiction must comport with the relevant forum’s state
23 law and the Due Process Clause of the United States Constitution. The requirements under
24 California law and the Constitution are coextensive. See Cal. Civ. Proc. Code § 410.10.
25 (California courts may exercise jurisdiction “[o]n any basis not inconsistent with the
26 Constitution of this state or of the United States.”). Under the Due Process Clause, a foreign
27 defendant with have “certain minimal contacts” with the forum state “such that the
28 maintenance of the suit does not offend traditional notions of fair play and substantial
                                       5
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 1 justice.” Int'l Shoe Co. v. Washington, 326 U.S. 310, 316, (1945) (internal quotations and
 2 citations omitted).
 3         Like most plaintiffs, Alcon asserts both general and specific jurisdiction over
 4 Publicis Media France. Because the assertion of general jurisdiction allows courts to
 5 exercise broader judicial authority, the plaintiff invoking general jurisdiction must meet
 6 the “exacting standard” of minimum contacts. Ranza v. Nike, Inc., 793 F.3d 1059, 1069
 7 (9th Cir. 2015). The defendant’s contacts with the jurisdiction must be “so continuous and
 8 systematic” as to render the foreign defendant “essentially at home” in the forum state.
 9 Daimler AG v. Bauman, 134 S. Ct. 746, 758 n.11 (2014). This requirement usually is
10 limited to a corporation’s place of incorporation or principal place of business. Id., at 760.
11 The plaintiff invoking general jurisdiction must establish an “exceptional case” in order to
12 exercise general jurisdiction anywhere other than those two locations. Id., at 761 n.19.
13         In order to establish specific jurisdiction, plaintiff also bears the burden of
14 establishing personal jurisdiction over the foreign defendant. Smartstop Self Storage
15 Operating P'ship L.P. v. Can-Dev, ULC, No. SACV1501415CJCDFMX, 2015 WL
16 13322430, at *2 (C.D. Cal. Oct. 26, 2015). Alcon therefore must satisfy three elements to
17 warrant this Court’s exercise of specific personal jurisdiction over Publicis Media France:
18 (1) Publicis Media France must have invoked the benefits and protections of the forum by
19 purposefully directing its activities or consummating a transaction with a resident of
20 California, or performed some act by which it purposefully availed itself of the privilege
21 of conducting activities in California; and (2) the claim must arise out of or relate to
22 Publicis Media France’s California-related activities; if Alcon satisfies both of these
23 elements, the court still must determine that (3) the exercise of jurisdiction over Publicis
24 Media France is reasonable, which in this case means it must comport with notions of fair
25 play and justice. Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th Cir.
26 2004). The plaintiff bears the burden of satisfying the first two prongs of the test. Id. If the
27 plaintiff fails to satisfy either of these prongs, personal jurisdiction is not established in the
28 forum state and the court need not reach the third prong. Id.
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 1         For purposes of a 12(b)(2) motion, courts accept uncontroverted facts in plaintiff’s
 2 pleadings as true. Smartstop, 2015 WL 13322430, at *2. However, a court “may not assume
 3 the truth of the allegations in a pleading which are contradicted by affidavit.” Id. Here,
 4 Publicis Media France has submitted Declarations establishing the facts of its activities –
 5 or more precisely its lack of activities – in California and that Alcon’s claims do not arise
 6 out of or relate to actions by Publicis Media France in California. There is neither general
 7 nor specific jurisdiction over Publicis Media France for this action.
 8                                      IV.   ARGUMENT
 9         A.    General Jurisdiction Is Not Appropriate over Publicis Media France
10               Because Its California Contacts Are Not So Continuous or Systematic as
11               to Render It “At Home” in California.
12         The federal courts follow California state law in determining their jurisdiction over
13 foreign parties. See, e.g., Smartstop, 2015 WL 13322430, at *2 (“Where, as here, there is
14 no applicable federal statute governing personal jurisdiction, the district court applies the
15 law of the state in which the court sits.”) California’s long-arm statute permits California
16 courts to exercise jurisdiction “[o]n any basis not inconsistent with the Constitution of this
17 state or of the United States.” Cal. Civ. Proc. Code § 410.10. Accordingly, the boundaries
18 of this Court’s jurisdiction are determined by the limits of constitutional due process, which
19 does not support general jurisdiction over a foreign corporation with only one limited
20 transaction in California.
21         In Daimler AG v. Bauman, the Supreme Court held that unless it is “an exceptional
22 case,” a corporation is not subject to general personal jurisdiction in a forum where it is not
23 incorporated and where it does not maintain a principal place of business. 134 S. Ct. at
24 760-62, 761 n.19. The “exceptional case” is one where the defendant’s affiliations with the
25 forum state are “[s]o continuous and systematic as to render them essentially at home in
26 the forum state.” Id., at 754 (internal citations and quotations omitted). Here, the Amended
27 Complaint concedes that Publicis Media France is not incorporated and does not maintain
28 its principal place of business in California. Am. Compl., ¶ 48. Accordingly, Publicis
                                        7
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 1 Media France may not be haled into California unless the Amended Complaint presents
 2 the “exceptional case.”
 3         And here, Alcon fails because the Amended Complaint does not set forth any facts
 4 alleging that Publicis Media France is an exceptional case. Indeed, Alcon alleges only its
 5 conclusion that “‘Publicis” had “continuous and systematic California business dealings”
 6 with film and television producers and distributors, not that California was Publicis Media
 7 France’s home. Id., ¶ 19. A finding of general jurisdiction on this scant allegation would
 8 nullify the Supreme Court’s jurisdictional test: “A corporation that operates in many places
 9 can scarcely be deemed at home in all of them.” Daimler, 134 S.Ct. at 762 n.20, 761
10 (“[A]pprov[al] . . . of general jurisdiction in every State in which a corporation ‘engages in
11 a substantial, continuous, and systematic course of business’ . . . is unacceptably
12 grasping.”)
13         The cases governing this inquiry require Alcon to allege much more to succeed. For
14 example, in Dillon v. Avis Budget Grp., Inc., this Court granted Avis’s motion to dismiss
15 for lack of personal jurisdiction, holding that the plaintiff had presented “no convincing
16 arguments” that Avis was the “exceptional case.” No. CV 18-3870-MWF (JCX), 2018 WL
17 3475529, at *4 (C.D. Cal. July 13, 2018) (Fitzgerald, J.). The Court expressly rejected
18 allegations of “continuous and systematic” contacts far more intensive than Alcon can
19 allege here, including Avis’s registration to do business in California, operation of 184
20 rental locations in California, and maintenance of 32 car sale locations in California, Id., at
21 *2-3; see also, AM Tr. v. UBS AG, 681 F. App’x 587, 588 (9th Cir. 2017) (declining to
22 exercise jurisdiction where doing so “[w]ould subject a large bank to general personal
23 jurisdiction in any state in which the bank maintains a branch.”) Mere presence in the state,
24 even a “continuous and systematic” presence, is not enough to conclude that a corporation
25 incorporated elsewhere with its principal place of business elsewhere is subject to general
26 jurisdiction in California.
27         The Amended Complaint’s broad and non-specific allegations that Casablanca had
28 some business dealings involving California does not satisfy Alcon’s burden to show that
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 1 its successor, Publicis Media France, is “at home” in California. Daimler, 134 S.Ct. at 761.
 2 Nor would that conclusion be consistent with the reality of Publicis Media France’s actual
 3 business activities: Publicis Media France, a societé anonyme organized and existing under
 4 French law with its principal place of business in France, is a subsidiary of MMS France
 5 Holdings S.A., also a societé anonyme, and an indirect subsidiary of its ultimate parent, the
 6 French holding company mentioned in the Amended Complaint, Publicis Groupe, S.A. The
 7 lines of ownership shown in the chart at page 3 above make very clear Publicis Media
 8 France and its parental line of French companies are at home in France, not in California.
 9         But there is more to which the Court may look to conclude it has no jurisdiction:
10 Publicis Media France does not operate in the United States or, more specifically, in
11 California. Picquet Decl., ¶ 19. Publicis Media France has no office, employees or physical
12 presence in California. Id., ¶¶ 5, 9. Publicis Media France does not use, own, or rent any
13 real or personal property in California. Id., ¶¶ 6, 10. And Publicis Media France is not
14 licensed to do business in California. Id., ¶¶ 7-8.
15         Nor may the California business dealings of a Publicis Groupe subsidiary that may
16 operate in California be imputed to Publicis Media France without establishing an alter-
17 ego relationship between them, which Alcon does not even attempt to do. Ranza, 793 F.3d
18 at 1070-71 (“The existence of a parent-subsidiary relationship is insufficient, on its own,
19 to justify imputing one entity's contacts with a forum state to another for the purpose of
20 establishing personal jurisdiction. A basic tenet of American corporate law is that the
21 corporation and its shareholders are distinct entities.”) (internal quotations and citations
22 omitted). See, e.g., Tahaya Misr Investment, Inc. v. Helwan Cement, S.A.E., No.
23 216CV01001CASAFMX, 2016 WL 927136, at *5 (C.D. Cal. Mar. 9, 2016) (dismissing a
24 foreign defendant where “[p]laintiff has provided the court with nothing more than its
25 assertion that ‘[t]here is such unity of interest and ownership between [defendants] that
26 their separate personalities no longer exist . . . . Such conclusory statements are insufficient;
27 a plaintiff must plead facts to meet its prima facie burden.”) (emphasis in original). See
28 also T-4 Corp. v. McDonald's Corp., No. CV 17-08-M-DLC, 2017 WL 3037422 (D. Mont.
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 1 July 17, 2017), appeal dismissed, No. 17-35652, 2017 WL 5565259 (9th Cir. Nov. 7, 2017)
 2 (dismissing Publicis Groupe as a defendant for lack of personal jurisdiction).
 3         That leaves the allegations against Publicis Media France as the corporate successor
 4 by merger to Casablanca and the employer of Messrs. Sissoko and Montron. But those
 5 allegations concerning Casablanca’s activities as Peugeot’s agent for Peugeot’s dealings
 6 with Alcon do not make California a “home” for Casablanca. These allegations are, rather,
 7 an attempt to assert specific jurisdiction, which they fail to do as made clear in the next
 8 section. Neither sending emails about activities that will take place outside of California,
 9 see Smartstop, 2015 WL 13322430, at *2, nor inviting M. Sissoko to California for a
10 meeting in Los Angeles when that visit to California is the only time M. Sissoko visited
11 California for business, is enough to establish general jurisdiction over Casablanca or, by
12 extension, over Casablanca’s successor by merger, Publicis Media France. See HK China
13 Grp., Inc. v. Beijing United Auto. & Motorcycle Mfg. Corp., 417 F. App’x 664, 666 (9th
14 Cir. 2011).
15         B.    Publicis Media France Did Not Purposefully Avail Itself of California
16               Benefits in Order To Establish Specific Jurisdiction.
17         Alcon asserts specific jurisdiction over Publicis Media France on substantially
18 identical, and identically failing, grounds as those alleged to support general jurisdiction.
19 The preceding section makes clear that the conclusory assertion that jurisdiction exists
20 because Publicis Media France “directed its activities towards Plaintiff, who [the
21 defendant] knew to be a citizen and resident of the State of California,” Am. Compl., ¶¶
22 20, 22, 24, cannot sustain general, let alone specific, jurisdiction over Publicis Media
23 France. And the allegation that Publicis Media France “purposefully availed” itself of the
24 rights and privileges of doing business in California by “participating in directing false
25 statements and other tortious conduct toward Plaintiff” simply does not pass muster. Am.
26 Compl., ¶¶ 20, 22, 24.
27         “Due process requires that a defendant be haled into court in a forum State based on
28 his own affiliation with the State, not based on the random, fortuitous, or attenuated
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 1 contacts he makes by interacting with other persons affiliated with the State.” Walden v.
 2 Fiore, 571 U.S. 277, 286 (2014). Therefore, “[t]he plaintiff cannot be the only link between
 3 the defendant and the forum. Rather, it is the defendant's conduct that must form the
 4 necessary connection with the forum State that is the basis for its jurisdiction over him.”
 5 Id., at 285. Dillon, 2018 WL 3475529, at *5 (“The only link between California and the
 6 facts giving rise to this case is Plaintiff himself. The Supreme Court has made clear that,
 7 in the context of specific jurisdiction, the plaintiff cannot be the only link between the
 8 defendant and the forum.”) (internal quotations and citations omitted).
 9         At base, the predicate of Alcon’s claims against Publicis Media France is the
10 allegation that Casablanca and its employees, Messrs. Sissoko and Montron, corresponded
11 by email from France with Alcon and its business partners, and made one visit to Alcon in
12 Los Angeles. See Am. Compl., ¶¶ 22-25. That one visit – the only business visit ever made
13 by Casablanca personnel to California – occurred in January 2017. Am. Compl., ¶¶ 200,
14 205. Messrs. Sissoko and Montron were invited by Alcon to its office for a “kickoff”
15 meeting for the co-promotion. Am. Compl., ¶ 200; Sissoko Decl., ¶¶ 21-22. As alleged in
16 the Amended Complaint, the purpose of the meeting was so that Alcon could “show the
17 placement and other creative materials” to Peugeot, Peugeot’s creative promotion agency
18 BETC, and Casablanca. Am. Compl., ¶ 200. No Casablanca employee ever traveled to
19 California for any other business purpose or at any other time. Sissoko Decl., ¶ 23. Alcon
20 makes that visit, along with its email correspondence with Messrs. Sissoko and Montron
21 in France, the foundation of both tort and contract claims. But neither Casablanca’s emails
22 from France nor its one visit are enough to subject Publicis Media France to personal
23 jurisdiction in this Court.
24               1.     Alcon’s Tort Theory Does Not Establish Jurisdiction.
25         Alcon asserts that Publicis Media France’s tortious conduct was aimed at Alcon in
26 California and therefore supports specific jurisdiction over the French company. As the
27 Ninth Circuit has held, however, merely causing an injury to a party in the forum (and
28 knowing that the party lived in the forum) does not confer jurisdiction unless the foreign
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 1 defendant intentionally committed an act expressly aimed at the forum. Schwarzenegger,
 2 374 F.3d at 805-807 (9th Cir. 2004). For example, in Schwarzenegger, the Court affirmed
 3 the dismissal of a California resident’s claim – by no less than Arnold Schwarzenegger
 4 while he was the sitting Governor of California – that an Ohio car dealership had used Mr.
 5 Schwarzenegger’s likeness in advertisements (before his election) without legal authority.
 6 Id., at 799. In the first instance, the Court determined that there was no basis for concluding
 7 that the car dealer “availed” itself of anything in California because it “received no benefit,
 8 privilege, or protection from California in connection with the Advertisement.” Id., at 803.
 9 Similarly here, Alcon alleges nothing that shows that Publicis Media France obtained a
10 “benefit, privilege, or protection from California” in connection with the BR2049 project;
11 those “privileges” were drawn for Alcon.
12        The emails between Casablanca and Alcon are not enough to establish jurisdiction
13 over Casablanca in California. Am. Compl., ¶¶ 23, 25. The relevant inquiry is whether
14 Casablanca intended to develop “continuing and extensive involvement with the forum”
15 when introducing Peugeot to Alcon for the non-U.S. part of the film’s promotion. Roth v.
16 Garcia Marquez, 942 F.2d 617, 622 (9th Cir. 1991). Smartstop disposes of the theory that,
17 because Casablanca “personally sent, and directed others to send, multiple emails to
18 Plaintiff . . .” about a promotion outside North America, Casablanca had a continuing
19 presence in California. Am Compl., ¶ 23. The Smartstop court dismissed such claims on
20 12(b)(2) grounds because “calls and emails did not allow or promote the transaction of
21 business within the forum state.” (internal quotations omitted). Smartstop, 2015 WL
22 13322430, at *3; see also Peterson v. Kennedy, 771 F.2d 1244, 1262 (9th Cir. 1985)
23 (concluding “use of the mails, telephone, or other international communications simply do
24 not qualify as purposeful activity invoking the benefits and protection of the [forum]
25 state.”) (citing Thos. P. Gonzalez Corp. v. Consejo Nacional de Produccion de Costa Rica,
26 614 F.2d 1247, 1254 (9th Cir. 1980)).
27         Alcon’s theory that tortious conduct was “aimed at” California, where Alcon
28 allegedly suffered its injuries, fares no better. In Schwarzenegger, the actor asserted that
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 1 the car dealer’s alleged misappropriation of his onscreen persona as The Terminator was
 2 “aimed” at California. Schwarzenegger, 374 F.3d at 799-800. The Court rejected that
 3 argument, holding that the Ohio dealership did not “expressly aim” its intentional acts at
 4 California because the relevant advertisement was directed to consumers in Ohio, not
 5 California. Id., at 807. Similarly, here, the Product License Agreement Alcon uses to
 6 describe the “Territory” of Peugeot’s contemplated promotional activities expressly
 7 excluded all of the United States. Am. Compl., ¶ 217(n).
 8        Finally, the “short trip” taken by Casablanca employees to California in 2017 did
 9 not establish jurisdiction over Publicis Media France. In HK China Grp., Inc. v. Beijing
10 United Auto. & Motorcycle Mfg. Corp., the Court considered numerous meetings between
11 the parties in California yet concluded that a “temporary physical presence” was
12 insufficient “to overcome the lack of any indicia of a calculated effort by [the defendant]
13 to conduct business in California.” 417 F. App’x at 666 (citing Fed. Deposit Ins. Corp. v.
14 British-Am. Ins. Co., 828 F.2d 1439, 1443 (9th Cir. 1987)). Alcon’s reliance on Messrs.
15 Sissoko and Montron accepting Alcon’s invitation to travel to a one-day meeting in
16 California, Am. Compl., ¶ 25, Sissoko Decl., ¶¶ 22-23, does not establish jurisdiction over
17 Publicis Media France.
18               2.    Alcon’s Contract Theory Does Not Establish Jurisdiction.
19        It is clear from the Amended Complaint that neither the product placement nor the
20 co-promotion was intended to take place in California. First and foremost, Casablanca
21 signed a draft contract as agent for Peugeot, its disclosed principal, and that document is
22 not alleged to be the operative contract in this dispute. Am. Compl., ¶¶ 201, 322. Second,
23 work on the product placement took place in Hungary, where Alcon shot the film and where
24 Peugeot sent its designers to work on the Spinner. Am. Compl., ¶¶ 93, 162. Third, the co-
25 promotion that Alcon says should have been mounted by Peugeot was to be performed
26 outside of North America. Am. Compl., ¶¶ 153(i), 217(n). Fourth, performance of the co-
27 promotion by a Peugeot agency was by BETC, not Casablanca, Am. Compl., ¶ 199. There
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 1 is absolutely nothing that Casablanca contracted to do in California that supports a finding
 2 of specific jurisdiction over Publicis Media France.
 3         The only other “contract” Alcon alleges is a non-disclosure form signed by Mr.
 4 Sissoko in order to access the Budapest lot on which the film was shot in Hungary because
 5 the contract included a California choice of law provision. Am. Compl., ¶¶ 21, 142;. But
 6 as the Smartstop court recognized, “[i]t is well settled that a choice-of-law provision
 7 ‘standing alone [is] insufficient to confer jurisdiction.” Smartstop, 2015 WL 13322430, at
 8 *3; see also Paccar Int’l, Inc. v. Commercial Bank of Kuwait, S.A.K., 757 F.2d 1058, 1063
 9 n.6 (9th Cir. 1985) (holding “[t]he fact that a contract is governed by the law of a particular
10 state does not establish that the [defendants] have purposefully availed themselves of the
11 privilege of conducting business in that state”). Cf. Cubbage v. Merchent, 744 F.2d 665,
12 670 (9th Cir. 1984) (noting that “choice of law is a separate inquiry from that of personal
13 jurisdiction”). That is all the more true when the NDA – a document that is at best tertiary
14 to the oral “agreement” on which Alcon relies – was signed in France to ensure the
15 confidentiality of things being shown to Casablanca in Budapest. Sissoko Decl., ¶ 19.
16 There is no contract that supports jurisdiction over Publicis Media France in California.
17                                     V.     CONCLUSION
18         Plaintiff’s attempt to assert jurisdiction over a French corporation with no significant
19 ties to California is not supported by the law of this Circuit, the long-arm statute of the
20 State of California, or the Due Process Clause of the Constitution. For the reasons set forth
21 above, Publicis Media France respectfully requests that this Court dismiss Alcon’s claims
22 against it for lack of personal jurisdiction and afford Publicis Media France such other
23 relief that the Court deems appropriate.
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